78 F.3d 579
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Monroe Roosevelt PARKER, Jr., Rev., Petitioner--Appellant,v.Ronald J. ANGELONE, Director of the Virginia Department ofCorrections, Respondent--Appellee.
    No. 95-7297.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 27, 1996.Decided March 11, 1996.
    
      Monroe Roosevelt Parker, Jr., Appellant Pro Se.  Linwood Theodore Wells, Jr., Assistant Attorney General, Richmond, Virginia, for Appellee.
      Before MURNAGHAN and WILLIAMS, Circuit Judges, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 28 U.S.C. § 2241 (1988) petition.   We have reviewed the record and the district court's opinion accepting the recommendation of the magistrate judge and find no reversible error.   Accordingly, we affirm on the reasoning of the district court.   Parker v. Angelone, No. CA-94-968 (E.D.Va. Aug. 2, 1995).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    